TRULINCS 62988056 - KUMAR, SANJAY - Unit: BUF-V-A
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Typed complaint against US District Court Judge L.W.Flanagan [BEING RESUBMITTED ON 12/29/23]

10/9/23

SANJAY KUMAR
LSCI
PO BOX 999
BUTNER.NC
27509

NWAMAKA ANOWI
CLERK OF THE COURT
US COURT OF APPEALS FOR THE FOURTH CIRCUIT
1100 EAST MAIN STREET
SUITE 501
RICHMOND.VA
23219

RE : FORMAL COMPLAINT OF JUDICIAL MISCONDUCT.PREJUDICIAL MISCONDUCT & WILLFULL & MALICIOUS
VIOLATION OF THE CANONS OF CODE OF CONDUCT FOR THE US JUDGES, AGAINST DISTRICT COURT JUDGE
LOUISE WOOD FLANAGAN

Dear Mr. Anowi,

I am hereby filing a formal complaint against Judge L.W. Flanagan . Per the rules there is no time limit for filing th is complaint &
it must be filed with the Clerk of the Circuit Court who will then forward this to the Chief Judge of the pertaining Circuit Court
[See attached instructions]

This corrupt Judge blatantly violated the Canons of the Jud icial Code of Conduct, specifically:

CANON 1: A JUDGE SHOULD UPHOLD THE INTEGRITY & INDEPENDENCE OF THE JUDICIARY [ FLANAGAN
FOLLOWED THE US ATTORNEY'S ORDERS DURING THE CRIMINAL PROCEEDINGS]

CANON 2: A JUDGE SHOULD AVOID IMPROPRIETY & THE APPEARANCE OF IT, AT ALL TIMES . [SHE DID NOT DO THIS
& THE RECORD IS CLEAR]

CANON 3:A JUDGE SHOULD PERFORM THE DUTIES OF THE OFFICE FAIRLY, IMPARTIALLY & DILIGENTLY [ MY
INFORMAL BRIEFS TO THE APPEALS COURT;INFORMAL BRIEF & ADDENDUM AS WELL AS REPLY TO THE
GOVT.INFORMAL.BRIEF, DETAIL HOW SHE VIOLATED CANONS 2 & 3]

Flanagan has also repeatedly & willfully indulged in prejudicial & Judicial Misconduct.

She has abused her Judicial authority with impunity to disregard & trample my Due Process & Fundamental Constitutional
Rights in order to ensure my wrongful conviction & sentence. She ratified the US attorney recommended unjust sentence, an
obscene enhanced outrageous one at that, of 215 year, that included 100 years for 10 "structured transections" [See my PSR
as well as the sentencing hearing synopsis]

Flanagan acted with bias, hostility & animosity towards the defense & created a general atmosphere of unfairness throughout
the the criminal proceedings, in addition to precluding the defense from presenting rebuttal evidence!

Judge Flanagan not only did the prosecutor's bidding @ every stage of the criminal prosecution but in fact acted as the De
Facto prosecutor herself!
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She did everyth ing to block the evidence of my innocence & the truth from the jurors & from the record & even issued threats to
the defense counsel NEWTON , when NEWTON unearthed crystal clear evidence of witness tampering & obstruction of justice
by the US Attorney's office & law enforcement.Flanagan unjustly & under ongoing threats of sanction & discipline, made
NEWTON tremble in fear, for her "overzealous representation" & succeeded in manipulating her to provide not only ineffective
assistance of counsel but in fact sabotage my defense thereafter.

Flanagan in doing so interfered with the attorney client relationship that I had with Newton & irreparably prejudiced my defense
with devastating consequences. The improper accusations of professional misconduct against Newton.by Flanagan, were
unfounded & were put into play by Flanagan to "neuter" my defense & to "turn" Newton against me (Rein her in]

Subsequently she conspired with the US Attorneys as well as the "compliant", Newton to block my testimony & evidence &
forcibly removed ne from the stand over my objections, while I was still testifying!

This whole sordid saga is revealed in :

#My informal brief & the addendum as well as my informal reply brief to the Govt's response to my brief

#My attachments to the briefs that i have submitted to the Appellate Courts to include

*DE Exhibits
*Minutes of the Court hearings
*USB Drive evidence [ My Final Pro Se refutations to PSl][ACTUAL USB DRIVE SUBMITTED]
*Newton witness interviews
*My synopsis of the trial as well as sentencing hearing
*My refutations to Flanagan's sentencing memo
*My refutations to the Govt's sentencing niemo
*My synopsis of the DE exhibits

Flanagan behavior was so egregious that she blocked the questioning of the sham govt Govt. "expert", at trial, by Newton & @
the sentencing hearing by myself, thus violating the "confrontation clause" of the constitution .

These were not isolated events but there was a pattern of failing to ensure the rights of the criminally charged defendant with a
FANATICAL EAGERNESS TO SECURE A WRONGFUL CONVICTION & A LENGTHY SENTENCE. THIS IS TOTALLY
CONTRARY TO A JUDGE'S ROLE AS AN IMPARTIAL ARBITRER.

What is utterly deplorable is that Judge Flanagan indulged in this flagrant & atrociously unlawful & unconstitutional behavior
with planning, forethought,malice,malevolence & willfulness . THIS SHOWS DELIBRATE MISCONDUCT WHERE JUDGE
FLANAGAN ABUSED & EXCEEDED HER AUTHORITY & ACTED WITH AN IMPROPER PURPOSE.

Flanagan acted with prejudicial bias & failed to observe the basic decent standard of conduct expected of a Judge & displayed
impropriety, favoritism & dereliction of duty.

On display was a spectacle of intentional & conscious disregard of the criminally charged defendant's fundamental rights with
overt embroilment on the part of the Judge, evidenced by pompous & affected speeches,pique,anger,high
handedness ,interruptions,dictatorial attitude & rulings ,complete disregard of the rules of the criminal procedures & other
improper purposes.

This was all particularly appalling as it was done in bad fa ith .

Not only was the Outrageous Govt. Misconduct evidence, blocked from the jurors, but also the blatant witness tampering by US
attorneys as well as the chief case agent & law enforcement personnel was not exposed . [ Crystal Scott was blocked pretrial &
Randy Bryan & Alan Pyrtle were blocked @ trial]

Flanagan in addition conspired with the US Attorney's as well as the US Govt to facilitate the witness tampering , coercion,
threatening of all witnesses & potential witnesses by unlawfully forcing defense counsel to hand over her witness interviews,
pretrial, in direct contravention to the FRCP rules .

Additionally Flanagan had an inappropriate "social" relationship [drinking buddies & confidants] with a "nurse" (actually a
                   Casewho
veterinarian technician], 4:17-cr-00005-FL        Document
                             worked@ Pamlico County             736-1
                                                          Detention  Center,Filed
                                                                             by the04/22/24      Pagea2pseudonym]
                                                                                    name of "STARR"[      of 6        Flanagan
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had the habit of "sharing" her Judicial biases with "STARR", who would then inform the presentencing detainees what sentence
Flanagan had in mind for them beforehand!
"STARR" informed me, years before my trial, that Flanagan did not like me At all & I was never getting out. So not only did this
"FAIR/EQUITABLE" Judge have a lengthy sentence in mind for me, that was predetermined, but she shared her animosity
towards me with a non officer of the Court, before my trial!

In fact, when it came to my case,Flanagan had 2 goals in mind
1) PRIMARY GOAL TO INFLICT MAXIMUM PUNISHMENT
2) SECONDARY GAOL WAS TO ACCOMPLISH HER OBJECTIVES IN A MANNER TO ENSURE THAT SUCH CONDUCT BE
INSULATED FROM JUDICIAL REVIEW & COLLATERAL ATTACK

SUCH A PLANNED SUBVERSION OF JUSTICE & A MISUSE OF JUDICIAL POWER COULD ONLY BE UNDERTAKEN IN
BAD FAITH .

SANCTIONS ,REPROVAL,CENSURE OR PUBLIC ADMONITION IS NOT ENOUGH , BY ANY MEANS FOR THIS SABOTEUR
OF JUSTICE, SHE MUST BE REMOVED FROM THE OFFICE

Sincerely,

SANJAY KUMAR MD




                                                                               @         3-3




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3/4/24

Sanjay Kumar MD
Reg . No:62988056
LSCI
PO BOX 999
Butner, NC 27509

Mr. Namaka Anowi
Clerk US Court of Appeals for the Fourth Circuit
1100 East Main Street
Suite 501
Richmond, VA 23219

RE: Petition for Chief Judge disposition under Rule 11 (c) [dismissal] . No . 04-24-90004 . Memo & order dated 2/29/24, received
3/4/24

Dear Sirs/Madams,

I hereby petition the Judicial Council for review of the Chief Judge DIAZ'S dismissal of my Judicial complaint by rules
promulgated under 28 USC Subsection 358 & also request that it be referred to no fewer than 5 council members. Furthermore
DIAZ should be IMMEDIATELY EXCLUDED from all proceedings related to this complaint as well as my DIRECT APPEAL
[Motion filed- SEE ENCLOSED]

DIAZ demonstrated gross negligence,inaptitude,incapability,bias,favoritism & BASIC inability to go over elementary &
IRREFUTABLE EVIDENCE TYPED IN BLACK & WHITE.OF JUDICIAL MISCONDUCT, by Flanagan & has dismissed the
complaint.[Motion to recuse DIAZ from my proceedings.includes listing of materials supplied to the Clerk to forward to DIAZ]

In order to justify his spurious dismissal, DIAZ intentionally makes NO MENTION of the background information of brazen
witness tampering & intimidation by Govt. agents & US attorneys, of the trial witnesses & Flanagan's egregious actions,
rulings.threats to keep that off the record & from the jurors eyes . DIAZ begins by stating ," Prior to trial the Govt. filed a motion in
Limine to exclude statements .. " THIS IS WILLFUL OBFUSCATION & DECEPTION BY DIAZ

DIAZ readily,eagerly accepts & assimilates the "official" sham narrative provided by Flanagan & regurgitates it in his filing as ifit
is Gospel & conveniently ignores the criminal actions of Flanagan where she aided & abetted, conspired & obstructed justice,
with the US Govt., when they indulged in trial witness tampering & intimidation, pre trial, so that they could secure false
testimony for my wrongful conviction. He did not do his due diligence/leg work to determine the facts which were readily
apparent in the evidence he was provided. Rule 11 [b] of Judicial conduct commanded him to conduct an inquiry & to obtain &
review records.transcripts & relevant documents. I provided him those & he was derelict in his duty & willfully ignored them.
DIAZ is supposed to be a leader[The Chief Judge] & is duty bound to be an impartial seeker of truth @ all times & not play
political games with other Judges.exchange favors & give free passes . He needs to be cognizant that legal matters are very
serious & involve other humans lives, liberty, property & freedom

The US attorneys , in order to hide their crimes [failed witness tampering attempts on Crystal Scott] filed an Ex Parte motion
under seal to appoint her a FPO & the SUBSEQUENT Judge Gates order approving , was also Ex Parte & under seal.
These never appeared on the docket, so how was Newton to know, she is not clairvoyant [See DE 258, filed 5/9/19 by Newton-
this was detailed in my DE synopsis that I provided DIAZ]

DIAZ states that defense counsel Newton "acquiesced" to the remedies in shelving the bombshell evidence of the Crystal Scott
interview detailing the brutal mental gang rape of Scott by the US attorneys & Chief case agent Wilcutt, where they repeatedly
threatened her with decades of Federal time in addition to her State time if she did not lie on the stand about me & state that
she had sex with me .got free & extra pills from me & worked for me recruiting patients . Flanagan threatened Newton in the
                   Case
5/30/19 hearing, the      4:17-cr-00005-FL
                      minutes                       Document
                               of which I provided DIAZ,          736-1
                                                         telling her         Filed
                                                                     to stop her    04/22/24
                                                                                 "over            Page 4 of 6disciplined her &
                                                                                       zealous" representation,
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 left threats of further sanctions hanging above her head till the criminal proceedings were concluded . This effectively neutered
 her. Newton informed Appellant [defendant] that she would lose her license & livelihood if she pursued these matters of
 outrageous Govt. conduct further, after initially telling him that this case was going to be a MISTRIAL due to prosecutorial
 misconduct. The record supports how Newton started sabotaging the defense case after Flanagan's threats. Newton might
•deny her conversations that she had with me, for self preservation.because Flanagan is a vindictive tyrant & will destroy
 Newton's law career if she finds out that Newton is spilling the beans

DIAZ states "Newton apolog ized". What choices did Newton have at that time when she was faced by a tyrannical despotic
Judge who was gunning for her@ the hearing . DIAZ is well aware of the power Judges exercises over the attorneys in the
Courtroom. See DE 260 brief filed 5/10/19 by Newton states that she was threatened & had bad experience with my US Atty
Highdon in the past & at least 10 WITNESSES she & her investigator had interviewed had been coerced/threatened by the
Govt & she adds,"agents of the Govt are actively spreading information unfavorable to a fair hearing in the community &
inflaming passions & intimidating the witnesses"

DIAZ adds that I had no complaints about counsel. See the 5/30/19 minutes, I got up 3 times to tell the Judge what I thought of
her unlawful actions & she told me to talk to Newton who begged me in the ear to sit down & rema in qu iet for her sake . I had
exhausted almost a million dollars of my retirement & gone through 3 different counsels including Newton . What was I
supposed to do now, get rid of Newton, sell my home [which I could not because of the Govt.'s lien] & pay ANOTHER 500k to
get a 5th attorney? I had to make do with Newton because 300k had been paid up front & there were no refunds

DIAZ states that I "allege" that Flanagan neutered Newton after the 5/30/19 hearing , turned her ineffective & interfered with my
atty/client relationship . I do not allege this DIAZ, the proof is in the pudding. If you would have done your duty & spent a few
days with all the Trial/Sentencing synopsis that I had sent you & read the briefs that I filed with the Appellate Court that I also
included & read Newton's sentencing memorandum & seen the letters I sent to Flanagan firing Newton [ DE synopsis I sent
you] YOU WOULD NOT HAVE MADE SUCH A FOOLISH STATEMENT BUT YOU ARE MORE INTERESTED IN PLAYING
POLITICAL GAMES WITH OTHER JUDGES & CURRYING FAVORS & BASE YOUR DECISIONS ON THAT RATHER THAN
ON MERIT

DIAZ similarly states that I "claim" that Flanagan acted with hostility & prejudice , ratified the Govt's unjust sentence & blocked
my evidence of innocence. Again I do not just "claim" th is but the record , THAT DIAZ IS SO LOATH TO READ &
COMPREHEND, REFLECTS ALL THIS . Flanagan adopted the erroneous PSR with unproven alleged facts post trial &
increased my sentence from 27 months [Jury Found] to 20 years [ prosecutor recommended 215 years!]

DIAZ continues this fiasco , his memo.following the same pattern & adds I "claim" to all the factual incidents & evidence that
transpired/is evident during my criminal proceedings [done in an effort to discredit me] without verifying them in the record

Pamlico County Detention "nurse tech. Starr" informed me, multiple times . pretrial , that she was a close confidant/friend of
Flanagan & they both hated me & that Flanagan was never going to let me out & give me a lengthy sentence .
Is that NOT what happened?? [ 2 denied detention hearings & a 20 year sentence] Starr was informing multiple pre trial
detainees whether Flanagan liked them or not & what kind of sentence Flanagan was going to give them . How did Starr know
all this pretrial???

Record indicates that Flanagan gave a long pompous & affected speeches stating that jurors are supposed to focus on the
evidence in the case & then throughout the case blocked any & all evidence that hurt the Govt case like the CSRS data.my
exhibits of my innocence, Outrageous Govt. conduct etc, Similarly she informed them that the jury will speak the truth/have final
say & when they repeatedly told her they were deadlocked she forced them to compromise & usurped the jury verdict by not
sentencing me to 27 months as they found but 20 years!

DIAZ wrongfully deduces that I am pursuing my "disagreements" with Flanagan through the complaint. I am pointing to the
unlawful, unconstitutional & criminal actions of Flanagan who is not an impartial arbiter

How are the rulings of Flanagan "meritorious" & "procedural" when they have resulted in the wrongful conviction & lengthy
sentencing for an innocent man . I will give one example here [there are many in the record] FRCP 16(b) (2) (B) specifically
does not authorize the disclosure & inspection of stmts. made to defendant or his Atty by
1] Defendant
2]Govt or defendant's witness
3] Prospective 2
 Newton's motion DE 181 dated 9/10/18 spells that & I included in the DE synops is forwarded to DIAZ
Flanagan violated Case    4:17-cr-00005-FL
                   this & played lap dog to the US Document
                                                    atty & forced 736-1
                                                                  Newton to Filed
                                                                            release04/22/24       Page 5 of
                                                                                    her pretrial interviews    6 Us Atty. [Flan .
                                                                                                            to the
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order 9/4/18- that I also included in the DE synopsis]
The US Atty's used this to launch a campaign of terror [through law enforcement] in the community with threats & intimidation
THAT DIRECTLY RESULTED IN NEWTON ONLY BEING ABLE TO PRODUCE 8 WITNESES AS OPPOSED TO 60 [See my
informal Reply brief, that was also sent to DIAZ]

DIAZ, answer me this, How are any of these Flanagan rul ings/actions "meritorious"?
-blocking the CSRS data that was the DEATH of the Govt's fake case [See my informal reply brief]
-preventing me from testifying [see trial synopsis where she sends the jury out whilst I tell them that my testimony is not
finished . See the trial synopsis of the last 2 days of my testimony including the day closing arguments start, where I repeatedly
entreat that Judge that my testimony is not concluded & she starts talking over me & sends the Jury out & makes me step
down]                  •
-preventing me from showing jurors my exhibits of innocence that refuted the false AUSA narrative
-preventing jurors from learning about the blatant witness tampering done by US Attys on each & every witness
- blocking outrageous Govt conduct as weU as my videos that showed it

THESE ARE TARGETED ATTACK ON THE DEFENSE TO WRECK HAVOC & SECURE A CONVICTION

DIAZ my Direct Appeal is still under consideration so this is not a motion for reconsideration nor am I supplementing my Direct
Appeal as I have already raised these issues in my brief

DIAZ is UNCONCERNED with the UNCONSTITUTIONALITY & UNLAWFULLNESS of Flanagan's actions but uses
deflection,obfuscation & skewed logic & states that these are "Judicial decisions" & if examined will raise questions about
JUDICIAL INDEPENDENCE!! I am no law professor DIAZ but Judicial independence is enshrined in the constitution [separation
of powers doctrine] & when a Judge shamelessly plays second fiddle to the US atty & takes their orders , then that clause is
violated

DIAZ then opines [WRONGFULLY] that my "complaint lacks sufficient evidence to raise an inference of misconduct"
WHAT DO I NEED TO DO TO MAKE DIAZ READ & COMPREHEND THE LOADS OF EVIDENCE LAID BEFORE HIS EYES??
IT DOES HAVE SPECIFIC ALLEGATIONS WITH SUFFICIENT FACTUAL DETAILS WITH OBJECTIVE VERIFIABLE PROOF .
[I am confined to 5 pages so I can't fit them all in there & that is why I refer to the supporting evidence forwarded . Although
transcripts were not enclosed ,a whole Staple~ copy. paper box, I enclosed synopsis of all the proceed ings that is an accurate
depiction & condenses thousands of papers to a few hundred . It took me years, working 20 hours a day, to do this for the
benefit of the Judges]

When "adverse rulings" by the presiding Judge are unconstitutional, unlawful, cumulative & done in bad faith & malice to
hamper & prejudice the defense to secure a wrongful conviction, then they are Judicial Misconduct, DIAZ, PERIOD!

Removing me from the stand & not letting me testify fully & blocking my evidence of innocence-violation of the due process
clause , preventing me from exposing the lying         expert ON CROSS-violation of the 6th amendment confrontation clause,
                                                                 Govt




calling me mental ,artificially jacking up my sentence by decades & WRONGFULLY TAKING MY LIFE, LIBERTY, PROPERTY &
FREEDOM AWAY FROM ME ARE VERY VERY VERY HOSTILE & EGREGIOUS ACTIONS BY FLANAGAN

It is frightfully sinister as to how DIAZ has masterfully crafted this memo with prevarications to justify his spurious ruling so as to
not invite Judicial scrutiny & how legit it looks to befool the unwary & those not in the know

LOCAL RULE 6(b)(2) REGARDING SUPPORTING DOCUMENTS STATES THAT DOCUMENTS REFERRED IN STATEMENT
OF FACT MAY BE FILED WITH THE COMPLAINT & THAT IS WHAT I DID

IT IS THE DUTY OF THE CLERK TO FORWARD ALL DOCUMENTS REGARDING COMPLAINT TO THE JUDGE & THENCE
TO THE JUDICIAL COUNCIL -RULE 17(c)(2)

ENCLOSURES:
-Motion to recuse DIAZ DATED 3/5/24
-Anowi's letters dated 1/11/24 & 1/26/24 erroneously stating no evidence encl. when I sent him all the synopsis, refutations &
briefs & also blocking it & my responses 1/19 & 2/23/24 lf A'f;AJ·C,        ~ 1'o             .U/    to~""-4-ROE.Vt0GAx:E:: .-,, --n-t-E
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